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                      UNITED STATES DISTRICT COURT
                          DISTRICT OF MONTANA
                           MISSOULA DIVISION



UNITED STATES OF AMERICA,                  9:22-PO-5016-KLD
                                           Ticket Number: 9408103
                   Plaintiff,              Location Code: LEMM
                                           Disposition Code: PF
vs.
                                           JUDGMENT IN A CRIMINAL CASE
DANIEL E. BIRD,

                   Defendant.


      The Defendant, Daniel E. Bird, was present in court and entered a plea of
guilty to the charge of: TAKING REGULATORY GAME BIRDS AFTER
LEGAL SHOOTING HOURS.
      The court imposes the following sentence pursuant to the Sentencing
Reform Act of 1984:
             1. Defendant must pay a fine in the amount of $50.00 plus $40.00 in
fees for TAKING REGULATORY GAME BIRDS AFTER LEGAL SHOOTING
HOURS for a total of $90.00, The fine has been paid in full, receipt number
MTX9-16843.
      Defendant is advised that pursuant to 18 U.S.C. § 3742(g) and Federal Rule
of Criminal Procedure 58(g)(2)(B), Defendant has the right to appeal the sentence
imposed in this case to a United States District Court Judge within fourteen (14)
days after entry of judgment, by filing with the Clerk of District Court a statement
specifying the judgment from which the appeal is taken, and by serving a copy of
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the statement upon the United States Attorney (personally or by mail) and filing a
copy with Magistrate Kathleen L. DeSoto. If you appeal, you will be required to
pay a $38 fee pursuant to 28 U.S.C. § 1914, Fee Schedule, subsection (10) at the
time of filing your appeal. You also will be required to furnish the District Court
Judge a copy of the record, which consists of the “original papers and exhibits in
the case together with any transcript, tape or other recording of the proceedings
and a certified copy of the docket entries which shall be transmitted promptly to
the clerk of court.” Fed. R. Crim. P. 58(g)(2)(c).


                                            2.
Date of Imposition of Judgment: March 7, 2022.

  3/8/22
____________________                                 _______________________
                                                       _______________________ _
Date Signed                                          KATHLEEN L.   L DESOTO
                                                     United States Magistrate Judge
